           Case: 21-3371         Document: 10               Filed: 01/18/2022    Pages: 2


                              UNITED STATES COURT OF APPEALS
                                 FOR THE SEVENTH CIRCUIT
SCOTT TROOGSTADm et al,
                Plaintiffs,
v.                                                                     Appellate Case No.
CITY OF CHICAGO, and GOVERNOR JAY ROBERT                               21-3371
PRITZKER,
                Defendants.

                                   DOCKETING STATEMENT
     I.     Basis for the District Court’s Jurisdiction.
       The United States District Court for the Northern District of Illinois had jurisdiction over
the matters Complained of under 28 U.S.C. § 1331 because the Complaint seeks an equitable relief
and damages under federal statutes and under the US Constitution under 42 U.S.C. § 1983.
     II.    Basis for the Appellate Court’s Jurisdiction.
         The District Court denied a Petition for a Preliminary Injunction on December 21, 2021.
Plaintiffs filed a Notice of Appeal on December 22, 2021. This Court therefore has jurisdiction
under Federal Rules of Appellate Procedure 4(1)(a) The District Court retains jurisdiction over the
matter for all purposes other than the denial of the Preliminary Injunction.


Respectfully Submitted,
s/Jonathan Lubin
Attorney for Plaintiffs
Jonathan Lubin
8800 Bronx Ave.
Suite 100H
Skokie, IL 60077
773 954 2608
jonathan@lubinlegal.com
          Case: 21-3371         Document: 10             Filed: 01/18/2022         Pages: 2


                                  CERTIFICATE OF SERVICE
         I, Jonathan Lubin, hereby certify that I caused a copy of this instrument to be served upon
all parties of record by filing it with the Clerk of the United States Court of Appeals for the Seventh
Circuit on January 18, 2021, in accordance with the Federal Rules of Appellate Procedure and all
Circuit Rules.
s/Jonathan Lubin
